Case 2:23-cv-02224-MSN-atc Document 69 Filed 06/26/23 Page 1of10 PagelD 652

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE

Row Vaughn Wells, Individually and as

Administeatrix Ad Litem of the Estate uf
Tyre Deandre Nichols, deceased.

Plaintit®,
Civil Action No, 2:23-cv-2224

WE,

The City of Memphis, a municipality;

Chief Cerelyn Davis, in ber official capacity,
Emmitt Martin Il, in his individual capacity;
Demetrius [aley, in his individual capacity:
Justin Smith, in his individual capacity;
Desmond Mills, Jr. in his individual capacity;
‘Tadarrius Bean, in his individual capacity;
Preston Hemphill, in his individual capacity;
Robert Long, in his individual cupacily;
JaMichael Sundridee, in his individual capacity;
Michelle Whitaker, in her individual capacity:
DeWayne Smith, in his individual capacity and
as an agent of the City of Memphis.

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Defendants.

NOTICE OF SUBPOENA

NOW COMES the Plaintiff, RowVaughn Wells, Individually and as Administratrin Ad
Litem for the Estate of Tyre Deandre Nichols, by and through her attorneys. and pursuant to
Federal Rule of Civil Procedure 45(0)(4), hereby gives notice that the attached Subpoena to
Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil
Action shall be served on the following on June 12th, 2023 and be retumed 10 the offices of the
undersigned counsel (Le., Mendelson law Firm, 799 Estate Place, Memphis, ‘Tennessee
381871 on of before July 10th, 2023, at the hour of 921M) AML:

West Tennessee Regional Forensic Center Office

Keeper of Records
617 Poplar Avenue
Memphis, TN 38105
Case 2:23-cv-02224-MSN-atc Document 69 Filed 06/26/23 Page 2o0f10 PagelD 653

Dated: June 13, 2073.

Respectfully,
ff i haufid Menaleiscerr

MEADE LSON LAW FIRAT
David Mendelson

(Tennessee Bar No, 016812)
Benjamin Wachlel

(Tennessee Bar No. 037986)
799 Estate Place

Memphis, Tennessee 38187

Tel: (901) 763-2500 ext. 105
Fan: (9011) 763-2525

Emaik dmvit mendelsonfirrn coum
Email: bwachteltiamendelsonfirm.con

BEN CRUMP LAW

Ben Crump (pre hae vier pending)
(Washington, D.C. Har No, 1552623)
(Tennessee Har No, 038054)

Chris 0" Neal (pre hoc vice pending)
Brooke Cluse

717 D Street N.W., Suite 310
Washington, D.C, 20004

Email: ben! bengrump com

Email: chriso bencrump, cory

Limail: brooke bengrumpcon

ROMANUCC! & HLANDIN, LLC
Antonin Romanucci (ore fuse vice)
Brvee Hensley

Bhavani Raveendran (pre fac vice)
Sarah Raisch (pro fac vice)

321 North Clark St. Suite 900
Chicage, Illinois (654

Tel: (312) 458-1000

Fax: (312) 458-1004

Email: aromanueclidrhlaw. ne
E-mail: bhenslevifrhlaw net
Email: b raveendron‘e rhlaw, nici
Email: sralsch a rhl pw net

COUNCIL & ASSOCIATES, LLC
Lashonda Council Rogers

30 Ilunt Plaza, Si. Suite 740

Atlanta, Georgia 30303
Case 2:23-cv-02224-MSN-atc Document 69 Filed 06/26/23 Page 3of10 PagelD 654

Pel: (404) 526-8857
Fax: (404) 478-8425
Email: rogers‘@thecouncil finacom

EARNESTINE. HUNT DORSE
Larnestine Hunt Dorse

3268 NW Waynoka Circle
Memphis, Tennessee 38111-3616
Tel: (01) 604-8866

Limail: chidorseta! omil com
Case 2:23-cv-02224-MSN-atc Document 69 Filed 06/26/23 Page4of10 PagelD 655

CERTIFICATE OF SERVICE

I, the undersigned, on oath, subject to penalty of perjury, state that | served the above
Notice of Subpoena to Produce Documents, Information, or Objects or wo Permit Inspection of
Premises in a Civil Action and the attached document(s) to all parties who have been served with
summons and had Notices of Appearance fled on their behalf as of June 12. 2023 at their
respective addresses via electronic mall and LCI,

SERVICE LIST
Broce McMullen

KAKER, DONELSON, DEARMAN,

CALDWELL. & HERKOWITZ, PC. laura Elizabeth Soittick
165 Madison Awe SMUPTICK DAW FLRM
Sie DMM) 242 Poplar Avenue

Memphis, TM 38103

Stephen RK. LeMer

LAW OFFICE OF STEPHEN RK. LEFFLER,

Pot,

1509 Union Avon
PaO, Box 212
Mumphis, TN JS104

Deborah F. Godwin

GODWIN MORRIS LAUREN!
& BLOOMFIELD, Pic.

Moran Keegan Tower

SO. Front SL

Ste. £00

Memphis, Ts 38103

Darrell J. O'Neal

LAW OFFICE OF DARRELL J. O'NEAL

2129 Winchester Road
Memphis, TN 38116

Memphis, TN 38103

Robert |. J. Spence, Jr
ROGERT 1. J. SPENCE, JR.
63 Union Avenue

Suite 900

Memphis, 1 34103

Florence MI. Johnson

JOHNSON AND JONSON, PLLC
1407 Union Avenue, STE 102
Memphis, TN 38104

Tadarrios Bean
0959 Cense Avenue
Cordova, 1 38016

'«/ Davie Mendel

MENDELSON LAW FIRM
David Mendelson

749 Estate Place

Memphis, Terinessee 32187

Tel: (901) 763-2500 ext. 103
Vox: (901) 763-2525

Email: dma@imendelsenfirm.com
Case 2:23-cv-02224-MSN-atc Document 69 Filed 06/26/23 Page 5of10 PagelD 656

AMIN (A 0) Subsoer i Produce Discumer, [alarmed iin, or UP yect or is Pernt Thppevien of Frets ea Ciel Agden,

UNITED STATES DISTRICT COURT

for the
Western District of Tennessee
RowVaughn Wells, Individually and as.
Adminstratrls Ad Litem of the Estate of
Tyre Deandre Nichols, deceased.
Piainiif

¥. Civil Action No, 2:23-cv-2224

The City of Memphis, a municipality: et al.
thtemdunt

SUBPOENA TO PRODUCE [XOCUMENTS, INFORMATION, OR OBJECTS
OR TO PERMIT INSPECTION OF PREMISES IN A CIVIL ACTION

_  Wast Tennessee Regional Forensic Conter Office - Keepor of Records
To: 437 Poplar Avenue
Memphis, TH 38105

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@ Production: YOU ARE COMMANDED 10 produce at the time, date, and place set forth below the following
documents, clestronically stored information, or objects, and lo permit inspection, copying. testing, or sampling of the
matenal: Plaase seo attached rider and correspondence.

'Place: Mondalson Law Firm | Date and Time:

799 Estate Place
| Memphis, Tennessee 28120 duly 10, 2023 at 9:00am

0 faxpection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
other propeny possessed or controfled hy you at the time, date, and Incation set forth below, so that the requesting party
tay inspect, measure, survey, photograph, lest, ur sample the property or any designated object or operation an It.

| Pisce: ~~ | Date and ‘Time:
f

lhe following provisions of Fed. R. Civ. P. 45 are attached - Rule 4$(c}, relating to the place of compliance;
Rule 44(d), relating to your protection as a person subject to w subpoena: and Rule 44(e) and (gh, relating to your duty to
respond to thit subpoena and the potenilal consequences of not doing so,

Date: 8/12/2023

CEERE OF COURT
fs! David Mendelson
Denanre of Cink or Depo Clerk Arar Ie ienen ate

The name, address, e-mail address, and telephone number of the attomey representing émame of parte) RowVaughn Wels
inavidualy and 29 odrenstrotria od kta of tee eslate of Tyre Deandre Nichols. deceasedwho issues or requests this subpoena, ore:

Cavid Mendetson. Mendelson Law Firm, 799 Estate Place, Memphis, TN 38187; dm@mendetsonfirm com, 866-997-6325

Notice to the person who issues or requests this subpocos
If this subpocna commands the production of documents, electronically stored information, or tangible things of the
Inspection of premises before trial, a nutive and a copy of the subpoena must be served on each party in this case before
his served on the person to whom it is directed, Fed. R. Civ. P. 45(ay4),

Case 2:23-cv-02224-MSN-atc Document 69 Filed 06/26/23 Page 6of10 PagelD 657
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PROMOF OF SERVICE
(This section should not be flled with the court unless required by Fed. R. Civ, PB. 45.)

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@ | served the subpoena by delivering a copy to the named person as follows:
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By Serv: 1g. Yon Alber y ht a Y Gasca Lu) 203

Vass \a4
OT returned the subpoena unexccuted ae

Unless the subpoena was issued on behalf of dhe United Stales, or one of its officers or agents, | have also
tendenad to the witness the fees for one day's attendance, and the mileaye allowed by law, in the amount of

5 40.00

My fees are § for travel and $ for services, for a total of § 0.00

—_ =n

Tdeclsre under penalty of perjury that this information is true,

Dux: & 122023 = — fs! Danwd Mondelson _ bE

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David Mendelson Kouner~_Z (fam lett

Proved name aru tile

Mendelson Law Firm

799 Estate Place *

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Additional information regarding attempted servicy, ete.
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Case 2:23-cv-02224-MSN-atc Document 69 Filed 06/26/23 Page 8of10 PagelD 659

Via Gennes OFS Juno 12, 2023
West Tennesseo Regional Forensic Center Office

Alin: Keeper of Records

637 Poplar Avenue

Memphis, TN 328105

RE: Tyre Nichols Autopsy (DOB 6/5/1993)
To whom it may concern:

Pursuant to the foregoing Subpoena to Produce Documents, Information, or Objects or lo Permit
Inspection of Premises in a Civil Action, you are commanded to produce the following conceming
the autopsy performed on Tyre Nichols (Date of Birth 6/5/1993, Date of Death 1/10/2023):
Please produce:
1, All autopsy photos, including macroscopic photos.
2. All autopsy and toxicology labs, reports, and notes, including
comespondenca pertaining to performance or results of the

autopsy and toxicology report
3. All labs, reports, notes and any other materials utilized for the

neuropathology consultation,
Please make avaliable for inspection;

1. Hand E recuts from autopsy slides,
2. All sides from the autopsy and neuropathology consultation.

Should you have absolutely any questions regarding this correspondence, please do not
hesitate to contact the undersigned counsel,

Respectfully yours.

‘s! David Mendelson
MENDELSON LAW FIRM
David Mendelson

7599 Estate Place

Memphis, Tennessee 38187
Tel: (901) 763-2500 ext. 103
Fax: (901) 763-2525

Email: dm@mendelsonfirm.com

Case 2:23-cv-02224-MSN-atc Document 69 Filed 06/26/23 Page 9of10 PagelD 660

Progressive Process Service
P.O. Box 343058 - Bartlet, TN 38184
Phone: 901-388-7113 - Limail: Progressivepps.process‘ff)umail.com

AFFIDAVIT OF SERVICE

UST STATES DISTRICT CORE
WES T1tS DISTRICT (0? TENKESSEE

I, Konner Bramlett, being duly sworn deposes and says, | have been duly authorized to make service of the documents listed
herein in the above ttked case, | am wver the age of eighteen years and am not a party to or otherwise interested jn {hix matter

Plaintiff! Row Vaughn Wella, Individtially and as Admintairutix Ad Litem of the Fatate of Tyre Deandre Nichols, deceased,
Defendant: The City of Memphis, a munigipality, ot. al

DOCKETS: 2230 V224

Court Date/Time: 7/10/2023 / 9-09 AM

eee Subpoena to Produce Documents, Information, or Objects or to Permit Inspection of Premises in a Civil
hn

DATE OF SERVICE: 6/14/2023

TIME SERVED: 12-55 FM

ADDRESS OF SERVICE: 637 Poplur Avenue, Memphis, TN 38105

SERVED TO: Wert Tennensce Regional Forenale Center Office, by serving Jan Albright, Keeper of Records
[have served said document(s) im compliance with all the laws of the State of Tennessee and the rules of the courts.

bie —

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Kooner Aramled, Private Process Server

Sworn and swibserlbed before me thix dane: 6/18/9023 My conunission expires: Jume 29, 2074

“AZZ

Michael Paul

Case 2:23-cv-02224-MSN-atc Document 69 Filed 06/26/23 Page 100f10 PagelD 661

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